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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

JESSICA BLINKHORN,                     )
                                       )
      Plaintiff,                       )
                                       )       CIVIL ACTION
v.                                     )
                                       )       FILE No.1:21-CV-04627-MLB
                                                        _____________________
SWK, LLC,                              )
                                       )
      Defendant.                       )

                                   COMPLAINT

      COMES NOW, JESSICA BLINKHORN, by and through the undersigned

counsel, and files this, her Complaint against Defendant SWK, LLC pursuant to

the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the

ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”). In support

thereof, Plaintiff respectfully shows this Court as follows:

                         JURISDICTION AND VENUE

      1.     This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

      2.     Venue is proper in the federal District Court for the Northern District


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of Georgia, Atlanta Division.

                                     PARTIES

       3.     Plaintiff JESSICA BLINKHORN (hereinafter “Plaintiff”) is, and has

been at all times relevant to the instant matter, a natural person residing in

Douglasville, Georgia (Douglas County).

       4.     Plaintiff suffers from Spinal Muscular Atrophy (“SMA”) and is

disabled as defined by the ADA.

       5.     Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking, standing, grabbing, grasping and pinching.

       6.     Plaintiff cannot walk and uses a wheelchair for mobility purposes.

       7.     Defendant SWK, LLC (hereinafter “Defendant”) is a Georgia limited

liability company that transacts business in the state of Georgia and within this

judicial district.

       8.     Defendant may be properly served with process via its registered

agent for service, to wit: Stephen Weslee Knapp, 715 East Lake Drive, Decatur

Georgia 30030.

                           FACTUAL ALLEGATIONS

       9.     On or about September 2, 2021, Plaintiff was a customer at


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“Paolino's,” a business located at 350 Mead Road, Decatur, Georgia 30030.

      10.    On or about November 3, 2021, Plaintiff was a customer at “Ford’s

BBQ,” a business that is also located at 350 Mead Road, Decatur, Georgia 30030.

      11.    Defendant is the owner or co-owner of the real property and

improvements that are the subject of this action. (The contiguous structures and

improvements situated upon said real property shall be referenced herein as the

“Facility,” and said real property shall be referenced herein as the “Property.”)

      12.    Plaintiff lives approximately five (5) miles from the Facility and

Property.

      13.    Plaintiff’s access to the businesses located at 350 Mead Road,

Decatur, Georgia 30030 (Dekalb County Property Appraiser’s parcel number 15

213 01 13), and/or full and equal enjoyment of the goods, services, foods, drinks,

facilities, privileges, advantages and/or accommodations offered therein were

denied and/or limited because of her disabilities, and she will be denied and/or

limited in the future unless and until Defendant is compelled to remove the

physical barriers to access and correct the ADA violations that exist at the Facility

and Property, including those set forth in this Complaint.

      14.    Plaintiff has visited the Facility and Property at least twice before and

intends on revisiting the Facility and Property once the Facility and Property are


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made accessible.

      15.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      16.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to her access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      17.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      18.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      19.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      20.    The Facility is a public accommodation and service establishment.

      21.    The Property is a public accommodation and service establishment.

      22.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

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the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      23.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      24.    Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      25.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      26.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      27.     Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in her capacity as a customer of the Facility and Property,

and as an advocate for the disabled, but could not fully do so because of her

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Facility and Property that preclude and/or limit her

access to the Facility and Property and/or the goods, services, facilities, privileges,


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advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      28.    Plaintiff intends to visit the Facility and Property again in the future as

a customer and as an advocate for the disabled in order to utilize all of the goods,

services, facilities, privileges, advantages and/or accommodations commonly

offered at the Facility and Property, but will be unable to fully do so because of her

disability and the physical barriers to access, dangerous conditions and ADA

violations that exist at the Facility and Property that preclude and/or limit her

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      29.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying her access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      30.    Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically


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set forth herein, and make the Facility and Property accessible to and usable by

Plaintiff and other persons with disabilities.

      31.    A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      (a)    EXTERIOR ELEMENTS:

      (i)    There are no accessible parking spaces on the Property that

             comply with section 502 of the 2010 ADAAG standards, in

             violation of section 208 of the 2010 ADAAG standards.

      (ii)   The exterior of the Paolino’s portion of the Facility and

             Property does not provide for a minimum of 5% (five percent)

             of the dining surfaces utilized for consumption of food or drink

             that comply with section 902.2 of the 2010 ADAAG standards,

             requiring appropriate knee and toe clearance thereunder as set

             forth in section 306 of the 2010 ADAAG standards, positioned

             for a forward approach, in violation of section 226.1 of the

             2010 ADAAG standards.


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(iii)   There is a 2” (two inch) vertical rise within the accessible route

        that leads to the exterior seating area of the Ford’s portion of

        the Facility that is not ramped, in violation of section 403.4 of

        the 2010 ADAAG standards.

(iv)    The exterior of the Ford’s portion of the Facility and Property

        does not provide for a minimum of 5% (five percent) of the

        dining surfaces utilized for consumption of food or drink that

        comply with section 902.2 of the 2010 ADAAG standards,

        requiring appropriate knee and toe clearance thereunder as set

        forth in section 306 of the 2010 ADAAG standards, positioned

        for a forward approach, in violation of section 226.1 of the

        2010 ADAAG standards.

(b)     PAOLINO’S INTERIOR ELEMENTS:

(i)     The interior of the Paolino’s portion of the Facility has a bar

        lacking any portion of which that has a maximum height of 34”

        (thirty-four inches) from the finished floor, in violation of

        section 902.3 of the 2010 ADAAG standards.

(ii)    There is inadequate clear turning space in the restrooms in the

        Paolino’s portion of the Facility, in violation of section 603.2.1


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        of the 2010 ADAAG standards.

(iii)   The restrooms in the Paolino’s portion of the Facility have

        pedestal sinks that provide for inadequate knee and toe

        clearance thereunder, in violation of sections 305, 306 and

        606.2 of the 2010 ADAAG standards.

(iv)    The accessible toilet stall doors in the restrooms in the

        Paolino’s portion of the Facility are not self-closing and/or

        otherwise violate section 604.8.2.2 of the 2010 ADAAG

        standards.

(v)     The hand operated flush controls on the commodes in the

        accessible toilet stalls in the restrooms in the Paolino’s portion

        of the Facility are not located on the open side of the accessible

        stalls, in violation of section 604.6 of the 2010 ADAAG

        standards.

(vi)    The soap dispensers in the restrooms in the Paolino’s portion of

        the Facility are located outside the prescribed vertical reach

        ranges set forth in section 308.2.1 of the 2010 ADAAG

        standards.

(vii) The height of the coat hooks located in the restroom stalls in the


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        restrooms in the Paolino’s portion of the Facility are above 48”

        (forty-eight inches) from the finished floor, in violation of

        section 308.2.1 of the 2010 ADAAG standards.

(c)     FORD’S INTERIOR ELEMENTS

(i)     The accessible entrance to the Ford’s portion of the Facility has

        a doorway threshold with a vertical rise in excess of ½” (one

        half inch) that is not ramped or beveled, in violation of sections

        302, 303 and 404.2.5 of the 2010 ADAAG standards.

(ii)    The interior of the Ford’s portion of the Facility has a bar

        lacking any portion of which that has a maximum height of 34”

        (thirty-four inches) from the finished floor, in violation of

        section 902.3 of the 2010 ADAAG standards.

(iii)   The interior of the Ford’s portion of the Facility has a ramp

        leading to the lower dining area therein that has a slope

        exceeding 1:10 (one to ten), in violation of section 405.2 of the

        2010 ADAAG standards.

(iv)    The interior accessible route leading to the restrooms in the

        Ford’s portion of the Facility has walking surfaces lacking 36”

        (thirty-six inches) inches of clear width, in violation of section


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       403.5.1 of the 2010 ADAAG standards.

(v)    The Ford’s portion of the Facility lacks restrooms signage that

       complies with sections 216.8 and 703 of the 2010 ADAAG

       standards.

(vi)   The hardware on the restroom doors in the Ford’s portion of the

       Facility have operable parts that require tight grasping, pinching

       or twisting of the wrist, in violation of section 309.4 of the 2010

       ADAAG standards.

(vii) There are no rear grab bars adjacent to the commodes in the

       restrooms in the Ford’s portion of the Facility, in violation of

       section 604.5 of the 2010 ADAAG standards.

(viii) The restrooms in the Ford’s portion of the Facility have

       pedestal sinks that provide for inadequate knee and toe

       clearance thereunder, in violation of sections 305, 306 and

       606.2 of the 2010 ADAAG standards.

(ix)   The soap dispensers in the restrooms in the Ford’s portion of

       the Facility are located outside the prescribed vertical reach

       ranges set forth in section 308.2.1 of the 2010 ADAAG

       standards.


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      (x)    The paper towel dispensers in the restrooms in the Ford’s

             portion of the Facility are located outside the prescribed vertical

             reach ranges set forth in section 308.2.1 of the 2010 ADAAG

             standards.

      (xi)   The mirrors in the restrooms in the Ford’s portion of the

             Facility exceed the maximum permissible height set forth in

             section 603.3 of the 2010 ADAAG standards.

      32.    The above-described violations of the ADA and ADAAG rendered

the parking lot on the Property inaccessible to Plaintiff, rendered large portions of

the interior of both the Paolino’s portion of the Facility and the Ford’s portion of

the Facility inaccessible to Plaintiff, and rendered the restrooms in the Facility

inaccessible to Plaintiff.

      33.    Upon information and good faith belief, Defendant fails to adhere to a

policy, practice and procedure to ensure that all facilities on the Property are

readily accessible to and usable by disabled individuals.

      34.    Without limitation, the above-described violations of the ADAAG

made it more difficult for Plaintiff to traverse the ramp servicing the property,

more difficult for Plaintiff to enter and exit the Facility, and more difficult for

Plaintiff to conduct her business on the accessible routes while inside the Facility.


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      35.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

      36.    Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.

      37.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      38.    All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

      39.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      40.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.


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      41.    Upon information and good faith belief, the Property has been

modified at least once after March 15, 2012.

      42.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      43.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that she will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      44.    Plaintiff’s requested relief serves the public interest.

      45.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      46.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      47.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:


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(a)   That the Court find Defendant in violation of the ADA and ADAAG;

(b)   That the Court issue a permanent injunction enjoining Defendant from

      continuing its discriminatory practices;

(c)   That the Court issue an Order requiring Defendant to (i) remove the

      physical barriers to access and (ii) alter the subject Facility and

      Property to make them readily accessible to, and useable by,

      individuals with disabilities to the extent required by the ADA;

(d)   That the Court award Plaintiff’s counsel reasonable attorneys' fees,

      litigation expenses and costs; and

(e)   That the Court grant such further relief as deemed just and equitable

      in light of the circumstances.

                                Dated: November 8, 2021.

                                Respectfully submitted,

                                /s/Craig J. Ehrlich
                                Craig J. Ehrlich
                                Georgia Bar No. 242240
                                The Law Office of Craig J. Ehrlich, LLC
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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich




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